Case 15-53334-crm        Doc 20    Filed 05/14/15 Entered 05/14/15 16:28:03             Desc Main
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  IT IS ORDERED as set forth below:



  Date: May 14, 2015
                                                      _________________________________

                                                                 C. Ray Mullins
                                                          U.S. Bankruptcy Court Judge

 ________________________________________________________________


                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

   IN RE:                                        :       CASE NO. 15-53334 - CRM
                                                 :
   KELLIE MICHAEL KING,                          :       CHAPTER 7
              Debtor(s),                         :       JUDGE MULLINS
                                                 :
   KELLIE MICHAEL KING,                          :
              Movant(s),                         :
   v.                                            :
                                                 :
   MULTIBANK 2009-1 RES-ADC                      :
   VENTURE, LLC,                                 :
             Respondent(s).                      :

                                                ORDER

            Pursuant to 11 U.S.C. § 522, the Debtor(s) has filed a motion to avoid lien in the above-
   styled case. The Court has notified counsel for the Debtor(s) of the motion’s deficiencies. To date,
   there has been a failure to comply with the Court’s directions. Accordingly, it is hereby
            ORDERED that the motion is DENIED without prejudice to the Debtor’s right to file
   another motion to avoid lien with respect to this obligation.
            The Clerk's Office is hereby directed to serve a copy of this Order on the Debtor(s),
   attorney for the Debtor(s), attorney for the Respondent(s) and the Trustee.
                                         [END OF DOCUMENT]
